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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7 UNITED STATES OF AMERICA,                         )
                                                     )
 8                            Plaintiff,             )     Case No. CR07-27-RSM
                                                     )
 9         v.                                        )     PROPOSED FINDINGS OF
                                                     )     FACT AND DETERMINATION
10 BIANCA CHRISTINE BOWLER,                          )     AS TO ALLEGED
                                                     )     VIOLATIONS OF
11                            Defendant.             )     SUPERVISED RELEASE
                                                     )
12

13                                          INTRODUCTION

14         I conducted a hearing on alleged violations of supervised release in this case on June 15,

15   2009. The defendant appeared pursuant to a summons issued in this case. The United States

16   was represented by Norman Barbosa, and defendant was represented by Michael Nance. Also

17   present was Senior U.S. Probation Officer Michael S. Larsen. The proceedings were digitally

18   recorded.

19                                 SENTENCE AND PRIOR ACTION

20       Defendant was sentenced on April 25, 2008 by the Honorable Ricardo S. Martinez for

21   Conspiracy to Commit Identity Theft and Bank Fraud and Aggravated Identity Theft. She

22   received 1 day and 18 months of incarceration with 5 years of supervised release. Defendant’s

23   supervision began on May 30, 2008. On September 28, 2008 the probation department submitted
     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -1
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 1   a violation report that defendant had failed to comply with her home confinement condition. The

 2   Court concurred with the probation department’s recommendation that no action be taken.

 3                           PRESENTLY ALLEGED VIOLATIONS AND
                           DEFENDANT'S ADMISSION OF THE VIOLATION
 4
         In a petition dated May 29, 2009, Senior U.S. Probation Officer Michael S. Larsen alleged
 5
     that the defendant violated the following conditions of supervised release:
 6
         1.      Failing to comply with the home confinement program between August 21, 2008 and
 7
     September 4, 2008 in violation of the special condition ordering her to participate in the home
 8
     confinement program for a period of 90 days.
 9
         2.      Using Methamphetamine on a daily basis from approximately May 21, 2009 until
10
     May 28, 2009.
11
         3.      Producing and possessing false identification in violation of the general condition
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     that she not commit another federal, state, or local crime.
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         4.      Possessing counterfeit checks and another person’s check book in violation of the
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     general condition that she not commit another federal, state, or local crime.
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         5.      Possessing stolen mail in violation of the general condition that she not commit
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     another federal, state, or local crime.
17
         6.      Committing the crime of conspiracy to commit fraud in violation of the general
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     condition that she not commit another federal, state, or local crime.
19
         7.      Possessing a passport and Washington State Identification in names other than her
20
     true legal name in violation of the special condition ordering not to do so.
21
         8.      Association with persons convicted of a felony and persons engaged in criminal
22
     activity in violation of standard condition number 9.
23
     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -2
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 1       The government dismissed violations 1 and 6. Defendant admitted to violations 2, 3, 4, 5, 7,

 2   and 8, waived any hearing as to whether they occurred, and was informed the matter would be set

 3   for a disposition hearing June 26, 2009 at 11:00 a.m. before District Judge Ricardo S. Martinez.

 4   Defendant remains in custody.

 5                        RECOMMENDED FINDINGS AND CONCLUSIONS

 6       Based upon the foregoing, I recommend the court find that defendant has violated the

 7   conditions of his supervised release as alleged above, and conduct a disposition hearing.

 8       DATED this 15th day of June, 2009.

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10                                                       A
                                                         BRIAN A. TSUCHIDA
11                                                       United States Magistrate Judge

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -3
